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B6A (Official Form 6A) (12/07)


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  In re         Royce Lamar Cobb,                                                                             Case No.   2:14-bk-29768
                Nichole Chaneece Pratt Cobb
                                                                                                  ,
                                                                                    Debtors
                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                  Husband,    Current Value of
                                                                          Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                      Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                 Community Deducting  any Secured
                                                                                                             Claim or Exemption

PR: 946, 948 and 948 1/2West 48th Street, Los                                                         C                  545,000.00               397,043.00
Angeles, CA 90037 (3 unit property)
-value per comparable market

Rental:                                                                                               C                  305,000.00               312,957.00
7318 S Brighton Avenue., Los Angeles, Ca 90047

Rental: 1139 W 64th Street, Los Angeles, CA                                                           C                  290,000.00               293,641.00
90044-3607




                                                                                                  Sub-Total >        1,140,000.00          (Total of this page)

                                                                                                          Total >    1,140,000.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                  (Report also on Summary of Schedules)
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
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B6B (Official Form 6B) (12/07)


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  In re         Royce Lamar Cobb,                                                                                 Case No.       2:14-bk-29768
                Nichole Chaneece Pratt Cobb
                                                                                                      ,
                                                                                     Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                              Husband,        Current Value of
                Type of Property                          O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                               Joint, or   without Deducting any
                                                          E                                                             Community Secured Claim or Exemption

1.    Cash on hand                                        X

2.    Checking, savings or other financial                    Checking and Savings Accts LA Financial Credito                C                            305.00
      accounts, certificates of deposit, or                   Union
      shares in banks, savings and loan,
      thrift, building and loan, and                          E Central Credit Union Checking and savings                    C                            800.00
      homestead associations, or credit                       accounts
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        Miscellaneous Household Goods                                  C                         4,000.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                       X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Used Clothes and shoes                                         C                         1,200.00

7.    Furs and jewelry.                                       wedding bands                                                  C                         1,400.00

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.




                                                                                                                             Sub-Total >             7,705.00
                                                                                                                 (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Royce Lamar Cobb,                                                                                Case No.     2:14-bk-29768
                Nichole Chaneece Pratt Cobb
                                                                                                     ,
                                                                                    Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                          N                                                             Husband,        Current Value of
                Type of Property                          O              Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                              Joint, or   without Deducting any
                                                          E                                                            Community Secured Claim or Exemption

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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  In re         Royce Lamar Cobb,                                                                                 Case No.        2:14-bk-29768
                Nichole Chaneece Pratt Cobb
                                                                                                      ,
                                                                                     Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                          N                                                              Husband,        Current Value of
                Type of Property                          O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                               Joint, or   without Deducting any
                                                          E                                                             Community Secured Claim or Exemption

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        2005 Nissan Armada, 130k miles (PIF)                            C                         7,500.00
    other vehicles and accessories.                           -valued comparable market

                                                              1998 Dodge Carravan, 170k miles (PIF)                           C                            993.00
                                                              -value per kbb

                                                              2001Ford Expedition, 230k miles                                 C                         2,500.00
                                                              -value per comparable market

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                   X
    not already listed. Itemize.

                                                                                                                             Sub-Total >            10,993.00
                                                                                                                 (Total of this page)
                                                                                                                                  Total >           18,698.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                         (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/13)


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   In re         Royce Lamar Cobb,                                                                                   Case No.         2:14-bk-29768
                 Nichole Chaneece Pratt Cobb
                                                                                                         ,
                                                                                      Debtors
                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                     with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                              Specify Law Providing                         Value of                 Current Value of
                   Description of Property                                       Each Exemption                             Claimed                  Property Without
                                                                                                                           Exemption               Deducting Exemption
Real Property
PR: 946, 948 and 948 1/2West 48th Street, Los                           C.C.P. § 704.950                                       147,957.00                       545,000.00
Angeles, CA 90037 (3 unit property)
-value per comparable market

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking and Savings Accts LA Financial           C.C.P. § 704.070                                                                   305.00                           305.00
Credito Union

E Central Credit Union Checking and savings                             C.C.P. § 704.070                                             800.00                           800.00
accounts

Household Goods and Furnishings
Miscellaneous Household Goods                                           C.C.P. § 704.020                                           4,000.00                         4,000.00

Wearing Apparel
Used Clothes and shoes                                                  C.C.P. § 704.020                                           1,200.00                         1,200.00

Furs and Jewelry
wedding bands                                                           C.C.P. § 704.040                                           1,400.00                         1,400.00

Automobiles, Trucks, Trailers, and Other Vehicles
2005 Nissan Armada, 130k miles (PIF)                                    C.C.P. § 704.010                                           2,900.00                         7,500.00
-valued comparable market




                                                                                                         Total:                 158,562.00                       560,205.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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B6G (Official Form 6G) (12/07)


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  In re             Royce Lamar Cobb,                                                                           Case No.      2:14-bk-29768
                    Nichole Chaneece Pratt Cobb
                                                                                                      ,
                                                                                    Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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  In re          Royce Lamar Cobb,                                                                       Case No.      2:14-bk-29768
                 Nichole Chaneece Pratt Cobb
                                                                                               ,
                                                                                Debtors
                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                     NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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              Case 2:14-bk-29768-SK                  Doc 13 Filed 11/03/14 Entered 11/03/14 16:32:42                                      Desc
                                                      Main Document    Page 8 of 11


Fill in this information to identify your case:

Debtor 1                      Royce Lamar Cobb

Debtor 2                      Nichole Chaneece Pratt Cobb
(Spouse, if filing)


United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number               2:14-bk-29768                                                                  Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing post-petition chapter
                                                                                                             13 income as of the following date:

Official Form B 6I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
                                             Employment status
       attach a separate page with
                                                                      Not employed                                 Not employed
       information about additional
       employers.                            Occupation            disabled                                     Nurse LVN
       Include part-time, seasonal, or
       self-employed work.                                                                                      Manchestor Manor Convalescent
                                             Employer's name                                                    Hospital
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                                                                837 W. Manchester Avenue
                                                                                                                Los Angeles, CA 90044

                                             How long employed there?                                                    3 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $              0.00       $         4,722.00

3.     Estimate and list monthly overtime pay.                                             3.     +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $           0.00              $   4,722.00




Official Form B 6I                                                      Schedule I: Your Income                                                   page 1
            Case 2:14-bk-29768-SK                 Doc 13 Filed 11/03/14 Entered 11/03/14 16:32:42                                          Desc
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Debtor 1    Royce Lamar Cobb
Debtor 2    Nichole Chaneece Pratt Cobb                                                           Case number (if known)    2:14-bk-29768


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $         4,722.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $           757.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $             0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $             0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $             0.00
      5e.    Insurance                                                                     5e.        $              0.00     $             0.00
      5f.    Domestic support obligations                                                  5f.        $              0.00     $             0.00
      5g.    Union dues                                                                    5g.        $              0.00     $             0.00
      5h.    Other deductions. Specify: Aflec Disability Insurance                         5h.+       $              0.00 +   $           153.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $           910.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $       3,812.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00     $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00     $                0.00
      8e. Social Security                                                                  8e.        $              0.00     $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.        $              0.00     $                0.00
      8g. Pension or retirement income                                                     8g.        $              0.00     $                0.00
                                               rent 946, 948 and 948 1/2West
      8h.    Other monthly income. Specify: 48th Street                                    8h.+ $            1,850.00 + $                      0.00
             rent 7318 S Brighton Avenue., Los Angeles, Ca 90047                                $            1,730.00   $                      0.00
             1139 W 64th Street, Los Angeles, CA 90044-3607                                     $            1,265.00   $                      0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          4,845.00         $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              4,845.00 + $        3,812.00 = $             8,657.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                       0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.    $           8,657.00
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form B 6I                                                    Schedule I: Your Income                                                           page 2
           Case 2:14-bk-29768-SK                     Doc 13 Filed 11/03/14 Entered 11/03/14 16:32:42                                             Desc
                                                     Main Document    Page 10 of 11


Fill in this information to identify your case:

Debtor 1                 Royce Lamar Cobb                                                                   Check if this is:
                                                                                                                An amended filing
Debtor 2                 Nichole Chaneece Pratt Cobb                                                            A supplement showing post-petition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

Case number           2:14-bk-29768                                                                                  A separate filing for Debtor 2 because Debtor
(If known)                                                                                                           2 maintains a separate household



Official Form B 6J
Schedule J: Your Expenses                                                                                                            12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s        Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age                live with you?

      Do not state the                                                                                                                        No
      dependents' names.                                                           son                                  9                     Yes
                                                                                                                                              No
                                                                                   son                                  15                    Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 6I.)                                                                                                          Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,210.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                                  0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                                  0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                                  0.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                                  0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                                  0.00




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Debtor 1     Royce Lamar Cobb
Debtor 2     Nichole Chaneece Pratt Cobb                                                                Case number (if known)       2:14-bk-29768

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                      6a.   $                                140.00
      6b. Water, sewer, garbage collection                                                                    6b.   $                                250.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                      6c.   $                                  0.00
      6d. Other. Specify: cable                                                                               6d.   $                                140.00
             extermination (pest control)                                                                           $                                129.00
             internet and phone                                                                                     $                                120.00
             cell phones                                                                                            $                                200.00
7.    Food and housekeeping supplies                                                                           7.   $                                900.00
8.    Childcare and children’s education costs                                                                 8.   $                                  0.00
9.    Clothing, laundry, and dry cleaning                                                                      9.   $                                200.00
10.   Personal care products and services                                                                     10.   $                                 85.00
11.   Medical and dental expenses                                                                             11.   $                                 80.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                            12. $                                  400.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13. $                                  200.00
14.   Charitable contributions and religious donations                                                        14. $                                  100.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                                    15a.   $                                  0.00
      15b. Health insurance                                                                                  15b.   $                                  0.00
      15c. Vehicle insurance                                                                                 15c.   $                                250.00
      15d. Other insurance. Specify: term life insurance for debtor and co-debtor                            15d.   $                                250.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                                16. $                                     0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                        17a.   $                                 0.00
      17b. Car payments for Vehicle 2                                                                        17b.   $                                 0.00
      17c. Other. Specify: 7318 S Brighton Avenue., Los Angeles, Ca 90047                                    17c.   $                             1,730.00
      17d. Other. Specify: 1139 W 64th Street, Los Angeles, CA 90044-3607                                    17d.   $                             1,265.00
             gardening for the PR                                                                                   $                               100.00
             Gardening for two rentals                                                                              $                               200.00
             vehicle maintenance                                                                                    $                               110.00
             personal grooming                                                                                      $                               110.00
18. Your payments of alimony, maintenance, and support that you did not report as
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 6I).         18. $                                                         0.00
19. Other payments you make to support others who do not live with you.                        $                                                        0.00
    Specify:                                                                              19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
    20a. Mortgages on other property                                                     20a. $                                                         0.00
    20b. Real estate taxes                                                               20b. $                                                         0.00
    20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                         0.00
    20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                         0.00
    20e. Homeowner’s association or condominium dues                                     20e. $                                                         0.00
21. Other: Specify:                                                                       21. +$                                                        0.00
22. Your monthly expenses. Add lines 4 through 21.                                                            22.       $                      8,169.00
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               8,657.00
    23b. Copy your monthly expenses from line 22 above.                                                      23b. -$                              8,169.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                  488.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
        No.
        Yes.
      Explain:



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